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                                   1                                  UNITED STATES DISTRICT COURT

                                   2                                 NORTHERN DISTRICT OF CALIFORNIA

                                   3
                                         VIRGINIA JOHANSEN, et al.,
                                   4                                                       Case No. 21-cv-01892-YGR
                                                       Plaintiffs,
                                   5
                                                  v.                                       CASE MANAGEMENT AND
                                   6                                                       PRETRIAL ORDER
                                         COUNTY OF NAPA, et al.,
                                   7
                                                       Defendants.
                                   8

                                   9          TO ALL PARTIES AND COUNSEL OF RECORD:

                                  10          The Court hereby sets the following trial and pretrial dates:

                                  11                                     PRETRIAL SCHEDULE
                                  12    CASE MANAGEMENT CONFERENCE:                           Monday, October 3, 2022 at 2:00 p.m.
Northern District of California
 United States District Court




                                  13    REFERRED TO ADR FOR MEDIATION TO BE
                                                                                              April 28, 2022
                                        COMPLETED BY:
                                  14
                                        LAST DAY TO JOIN PARTIES OR AMEND                     Only with court approval for good cause
                                  15
                                        PLEADINGS:                                            by Motions under FRCP Rule 16(b)(4)
                                  16
                                        NON-EXPERT DISCOVERY CUTOFF:                          June 15, 2022
                                  17
                                        DISCLOSURE OF EXPERT REPORTS:
                                  18                                                          Opening: July 15, 2022
                                        ALL EXPERTS, RETAINED AND NON-RETAINED
                                  19    MUST PROVIDE WRITTEN REPORTS COMPLIANT                Rebuttal: August 5, 2022
                                        WITH FRCP 26(A)(2)(B):
                                  20
                                        EXPERT DISCOVERY CUTOFF:                              September 9, 2022
                                  21
                                        DISPOSITIVE MOTIONS1 / DAUBERT MOTIONS To             November 15, 2022 [filed October 10,
                                  22    BE HEARD BY:                                          2022]
                                  23
                                        COMPLIANCE DEADLINE (SEE PAGE 2)                      Friday, February 3, 2023 at 9:01 a.m.
                                  24
                                        JOINT PRETRIAL CONFERENCE STATEMENT:                  February 10, 2023
                                  25
                                        PRETRIAL CONFERENCE:                                  Friday, February 24, 2023 at 9:00 a.m.
                                  26

                                  27
                                              1
                                              See Standing Order regarding Pre-filing Conference Requirements for motions for
                                  28
                                       summary judgment.
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                                   1    TRIAL DATE :                                           Monday, March 13, 2023 at 8:30 a.m. for
                                                                                               Jury Trial
                                   2
                                       Pursuant to the Court’s Pretrial Instructions in Civil Cases at Section 2, trial counsel shall meet
                                   3
                                       and confer in advance of the Pretrial Conference. The compliance deadline on Friday, February 3,
                                   4
                                       2023 at 9:01 a.m. is intended to confirm that counsel have reviewed the Court’s Pretrial Setting
                                   5
                                       Instructions and are in compliance therewith. Five (5) business days prior to the date of the
                                   6
                                       compliance hearing, the parties shall file a one-page JOINT STATEMENT confirming they have
                                   7
                                       complied with this requirement or explaining their failure to comply. If compliance is complete,
                                   8
                                       the parties need not appear and the compliance deadline will be taken off calendar. Telephonic
                                   9
                                       appearances will be allowed if the parties have submitted a joint statement in a timely fashion.
                                  10
                                       Failure to do so may result in sanctions.
                                  11
                                              The parties must comply with both the Court’s Standing Order in Civil Cases and Standing
                                  12
Northern District of California




                                       Order for Pretrial Instructions in Civil Cases for additional deadlines and procedures. All
 United States District Court




                                  13
                                       Standing Orders are available on the Court’s website at http://www.cand.uscourts.gov/ygrorders.
                                  14
                                              IT IS SO ORDERED.
                                  15
                                       Dated: November 16, 2021
                                  16
                                                                                        ______________________________________
                                  17                                                    YVONNE GONZALEZ ROGERS
                                                                                        United States District Judge
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